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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 KASPERSKY LAB, INC., et al.,
      Plaintiffs
      v.
                                                            Civil Action No. 17-2697 (CKK)
 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY, et al.,
      Defendants

                                             ORDER
                                           (May 30, 2018)

      For the reasons set forth in the accompanying Memorandum Opinion, it is, this 30th day

of May, 2018, hereby

      ORDERED that Defendants’ [21] Motion to Dismiss is GRANTED. It is further

      ORDERED that this case is DISMISSED.

      This is a final, appealable order.

      SO ORDERED.

                                                        /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
